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VIRGINIA:
                      IN THE ARLINGTON COUNTY CIRCUIT COURT
COLIN BRIESS
2600 Crystal Drive #708
Arlington, VA 22202

       PLAINTIFF​,

                 V.

VI DAI CJRT LLC
3550 S Clark Street
Arlington, Virginia 22202,                                       Case No.: 19-1522

       and

JUDITH TURNER
3600 South Glebe Road
Apartment 424
Arlington, Virginia

       DEFENDANT.
                               FIRST AMENDED COMPLAINT




                                                                                                   Document received by the VA Arlington 17th Circuit Court.
       1.        Plaintiff Colin Briess brings this complaint for monetary and equitable relief,

through counsel, against Defendant Vi Dai CJRT LLC (“VDC”), for breach of a contract of

employment in violation of the law of the Commonwealth of Virginia, and against Defendant

Judith Turner under Virginia Law that permits piercing the corporate veil against a company's

alter ego, because she is the alter ego of VDC and directly and maliciously caused VDC to

breach its agreement with Plaintiff in order to gain an unfair advantage.

       2.        Mr. Briess also brings this claim for retaliatory dismissal in violation of 42

U.S.C. § 1981.

       3.        This is a case about a Defendant business (VDC) and its alter ego (Ms. Turner)

that hired a manager (Mr. Briess) to manage its business. Then, during nearly three months of
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employment, the Defendant breached that contract because it ​never paid him any wages and fired

him in violation of a written employment agreement.


                                            PARTIES
       4.      Defendant VDC is a Virginia Limited Liability Company with a principal office

address of 3550 S. Clark Place, Arlington, VA 22202. VDC's managing member and alter ego is

Defendant Judith Turner, an Arlington Virginia resident.

       5.      VDC's sole business, on information and belief, is the operation of a juice bar in a

leased space within the LA Fitness franchise located at the intersection of Jefferson Davis

Highway and South Glebe Road in the Crystal City Neighborhood of Arlington County,

Virginia.

       6.      Defendant Turner, in addition to running VDC in her downtime, is a flight

attendant. That job requires her to spend substantial amounts of time away from VDC which, in




                                                                                                      Document received by the VA Arlington 17th Circuit Court.
part, created difficulties for her in running VDC.

       7.      On or about May 4, 2017, VDC, by Ms. Turner, executed and delivered to Mr.

Briess an Employment Agreement between VDC and Mr. Briess effective as of May 1, 2017 (the

“​Employment Agreement​”). VDC has blatantly breached the Employment Agreement, causing

Plaintiff damages, and refuses to cure or even to correspond with Plaintiff regarding this matter.

       8.      Mr. Briess is a resident of Arlington, Virginia. From February 2017 through May

2017, Mr. Briess bargained with VDC to become VDC's manager.


                                             FACTS
                               Early Discussions and Negotiations




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          9.      In early 2017, Mr. Briess learned of a juice bar, operated by VDC, that VDC's

owner Ms. Turner had an interest in selling.

          10.     At the time, Mr. Briess was a Retail Account Executive for AT&T in Seattle,

Washington. In this role, Mr. Briess worked with AT&T's authorized dealers and national retail

partners.

          11.     Initially, Mr. Briess was uninterested in purchasing the juice bar.

          12.     But Mr. Briess eventually came around to the idea, and on or about February 20,

2017, Mr. Briess expressed interested in the purchase.

          13.     Then, from March 22, 2017 until March 29, 2017, Mr. Briess visited VDC in

Arlington to observe it, further consider his options, and to talk over the potential sale with Ms.

Turner.

          14.     On or about the evening of March 24, 2017, Mr. Briess and Ms. Turner ate at




                                                                                                      Document received by the VA Arlington 17th Circuit Court.
Jaleo Restaurant in Crystal City to discuss the then-potential transaction.

          15.     They discussed combining an Employment Agreement and an Option Contract so

that Mr. Briess could explore, as VDC's manager, the realities of running the juice bar before

deciding whether to execute the option and go forward with a sale.

          16.     The next day, Mr. Briess and Ms. Turner visited the juice bar. During the roughly

6.5 hour visit, Mr. Briess inspected the leased facility, discussed operations and management

with Ms. Turner, and worked alongside employees to determine whether he remained interested

in the venture.




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        17.      After Mr. Briess's return to Seattle, he tried to arrive at a fair valuation of the

company and considered whether the juice bar was likely to be profitable with his experience

with retail sales locations.

        18.      On April 21, 2017, Mr. Briess emailed Ms. Turner a proposed employment

agreement and option contract.

        19.      In that email, he wrote “You may wish to have an attorney review the

agreements.”

        20.      The next morning, Ms. Turner acknowledged receipt by email and promised to

review the documents shortly.

        21.      On or about Sunday, April 30, 2017, Mr. Briess and Ms. Turner had a telephone

discussion wherein Ms. Turner expressed concern regarding portions of the Agreements.

        22.      Particularly, Ms. Turner was concerned about language that provided for an




                                                                                                       Document received by the VA Arlington 17th Circuit Court.
expense allowance for Mr. Briess's use.

        23.      Mr. Briess thereafter, on May 1, 2017, sent modified versions of the Agreements

to Ms. Turner for review, agreeing to modify the agreements in accordance with Ms. Turner's

concerns.

        24.      Both agreements bore Mr. Briess's signature when he sent them to Ms. Turner on

May 1, 2017.

        25.      On May 4, 2017, Ms. Turner emailed Mr. Briess executed copies of the

Employment Agreement and the Option Contract.

        26.      By mutual agreement of VDC and Mr. Briess, Mr. Briess was to start at VDC on

June 10, 2017.



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                               Terms of the Employment Agreement

        27.     Pursuant to the Employment Agreement, Mr. Briess was employed by VDC as the

 “Store Manager.”

        28.     Colin's term of employment with VDC was “for the period commencing June 1,

 2017 and ending June 1, 2019.”

        29.     The parties later agreed by email to amend that start date to July 1, 2017, though

 Mr. Briess began working and performing work for VDC prior to July 1, 2017.

        30.     His rate of pay was as follows:




                                                                                                     Document received by the VA Arlington 17th Circuit Court.
                                             Ex. 2 p. 1

        31.     In addition, in paragraph I.3 of the Employment Agreement, VDC Agreed to

 important provisions limiting Ms. Turner's permitted activities with the juice bar (the

 “​Prohibited Owner Activity​”), specifically: “Owner shall not engage in hands on or day-to-day

 activities of the Company, and shall not perform duties or activities that are customarily

 attendant to an employee.”

        32.     The Employment agreement enumerated the following nonexhaustive list of

 activities that Ms. Turner was not permitted to engage in:




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                                             Ex. 2. p. 2.

         33.     Further, VDC and Mr. Briess bargained in Article III of the Employment

 Agreement for a limited right, by VDC, to terminate Mr. Briess's employment, as follows:




                                                                                                     Document received by the VA Arlington 17th Circuit Court.
                                             Ex. 2. p. 3.

         34.     These provisions were important to Mr. Briess for specific reasons.

         35.     First, Mr. Briess was preparing to quit his job, pack up his belongings, and move

 across the country on the hope that he, with his experience in retail management, might render

 the juice bar profitable.


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         36.     But he had serious concerns, owing to his own assessment that Ms. Turner was

 perhaps the juice bar's biggest liability.

         37.     Mr. Briess knew that he was involving himself with a small business run by Ms.

 Turner (a flight attendant by trade) in her off time, and that the business had serious historical

 problems turning a profit, keeping adequate documentation, and maintaining enough staff to

 operate a full schedule during business hours.

         38.     Mr. Briess was unwilling to travel across the Country and engage in this two-step

 transaction without important assurances that, ​if the business were to fail​, it would be because ​he

 had failed, not because Ms. Turner has caused it to fail, despite his best efforts, because she

 refused to relinquish enough control for him to see whether he could make the business work.

         39.     Ms. Turner agreed to this arrangement and executed a binding Employment

 Agreement with Mr. Briess in order to advance it. In reliance on her promises, Mr. Briess threw




                                                                                                          Document received by the VA Arlington 17th Circuit Court.
 away his old life in favor of this new venture.

                      Ms. Turner Engages in Rampant Prohibited Owner Activity

         40.     From the start, Ms. Turner wholly ignored her obligations as VDC's owner under

 paragraph I.3 and engaged in Prohibited Owner Activity.

         41.     In fact, instead of refraining from engaging in “hands on or day-to-day activities,”

 Ms. Turner merely conducted herself as an offsite manager and treated Mr. Briess as her

 assistant manager.

         42.     Despite, for example, the prohibition against engaging “in hands on or day-to-day

 activities of the Company,” Ms. Turner used a remotely accessible security camera to monitor

 the store from offsite, and to constantly complain to Mr. Briess about his job and instruct and


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 interfere with his right to operate the store unhindered by Ms. Turner's interference pursuant to

 paragraph I.3 of the Employment Agreement.

        43.       While    using   this     device,       Ms.   Turner   attempted   to   operate   as

 micromanager-in-chief, frequently sending text messages to Mr. Briess to interfere with his daily

 operation of the store as store manager.

        44.       And if this were not enough to violate paragraph I.3, Ms. Turner also

 continuously encroached on Mr. Briess's exclusive and contractually-enumerated right, pursuant

 to paragraph I.3, to operate the store as he saw fit.

        45.       For example, on or around June 21, 2017, Ms. Turner interviewed and hired an

 employee, in breach of paragraph I.3(b) and (e)1 of the Employment Agreement.

        46.       Also, on or around June 27, 2018, Ms. Turner conducted an interview of an

 employee, in breach of paragraph I.3(b) and (e) of the Employment Agreement.




                                                                                                         Document received by the VA Arlington 17th Circuit Court.
        47.       Also, on June 28, 2017, Ms. Turner directed Mr. Briess to “take the next few days

 off” because she was “disappointed and confused,” in breach of paragraph I.3(b) and (d) of the

 Employment Agreement. Ms. Turner would allow Mr. Briess to return to work on July 1, 2017.

        48.       Also, on or around June 30, 2017, Mr. Briess decided, as the Store Manager and

 operator of its day-to-day affairs, to inform VDC's franchisor of his role with VDC. Ms. Turner



        1
            ​In
             this paragraph and the ones that follow, Plaintiff references breaches of the lettered
 subparagraphs of paragraph I.3. But those paragraphs are, by the terms of the Employment
 Agreement, non-exclusive. Ex. 2. p. 1-2 (“The type of day to day activities in which the Owner
 shall not engage and shall be delegated to Employee include, ​but are not limited to​:”) ​emphasis
 added.​ Thus, Ms. Turner might, and did, commit some breaches of paragraph I.3 though the
 breaching behavior ​does not fit neatly into one of the numbered examples listed in the
 Employment Agreement. The essential prohibition is on Ms. Turner engaging in “hands on or
 day-to-day activities of the Company” and performing “the duties or activities that are
 customarily attendant to an employee.”
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 refused to allow Mr. Briess to notify VDC's franchisor of Mr. Briess's role as manager, in breach

 of paragraph I.3(b) and (d) of the Employment Agreement.

        49.     Also, on July 12, 2017 at 12:49 pm, Ms. Turner directed Mr. Briess as follows:

 “We do not pay overtime to a staff if he/she doesn't complete all their tasks during their shift and

 have to stay back.” This directive breached paragraph I.3(b) and (d) of the Employment

 Agreement, in addition to exposing VDC to risk of violating the Fair Labor Standards Act.

        50.     Also, on July 13, 2017 at 4:31 pm, Ms. Turner decided and informed Mr. Briess

 that VDC would give one employee, Emmanuel Swinson, three more days of training before

 dismissing him, in breach of paragraph I.3(b), (d), and (f) of the Employment Agreement.

        51.     Also, on July 14, 2017, at 9:26 am, Ms. Turner told Mr. Briess that “I expect our

 male staff to [take out the garbage]”. This directive breached paragraph I.3(b) and (d) of the

 Employment Agreement, in addition to exposing VDC to risk of violating Title VII of the Civil




                                                                                                        Document received by the VA Arlington 17th Circuit Court.
 Rights Act of 1964, which prohibits discrimination in the terms and conditions of employment

 based on gender.

        52.     Also, on July 22, 2017 at 11:53 am, Ms. Turner told Mr. Briess not to put Mr.

 Swinson on the schedule anymore (against Mr. Briess’s wishes) and to ​close the juice bar if the

 employee shortage this action created prevented the juice bar from remaining open, in violation

 of paragraph I.3(b), (d), and (f) of the Employment Agreement.

        53.     This breach of the Employment Agreement terms regarding Prohibited Owner

 Activity is especially egregious, as can be demonstrated by the following text messages sent by

 Ms. Turner to Colin:




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        54.     Also, on July 23, 2017 at 10:10 am, Ms. Turner directed Mr. Briess to

 water-down customer's products from the franchisor's recipes, which risks alienating customers.

        55.     Also, on July 24, 2017, Ms. Turner directed Mr. Briess to make unauthorized

 withholdings from employee paychecks, which would violate Va. Code. § 40.1-29, in breach of

 paragraph I.3(d) of the Employment Agreement.




                                                                                                      Document received by the VA Arlington 17th Circuit Court.
        56.     Also, on July 31, Ms. Turner wrote Mr. Briess an email, directing him to “Please

 only order Muscle Milk, Monster Milk, Redline, Isopure, [and] Turbo Tea” from one vender,

 breaching paragraph I.3(c) and (d) of the Employment Agreement.

        57.     Also, on August 4, 2017, Ms. Turner directed Mr. Briess that, when he hired staff,

 he was only to set their starting pay at $9/hr, in breach of paragraph I.3(b), (d), and (e) of the

 Employment Agreement.

        58.     Also, on August 4, 2018, Ms. Turner directed Mr. Briess not to give raises to

 current employees, in breach of paragraph I.3(b), (d), and (e) of the Employment Agreement.

        59.     Also, on August 5, 2017, Ms. Turner directed Mr. Briess, regarding someone she

 perceived as an applicant for employment, “If he's involved with the military/veterans then they




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 can help him with a job. Absolutely do not hire him.” in breach of paragraph I.3(b), (d), and (e)

 of the Employment Agreement.

        60.     Also, on August 12, 2017, Ms. Turner told Mr. Briess to “discuss the menu price

 increase with me before any changes are made.” in breach of paragraph I.3(b)(d) of the

 Employment Agreement.

        61.     Also, in August 2017, VDC, under Mr. Briess’s management, was arranging to

 change the store's point-of-sale system to one offered by Squareup.com.

        62.     Ms. Turner interfered with this process, writing Mr. Briess on August 13, 2017,

 that she had directed that the point-of-sale conversion be put off, in breach of paragraph I.3(b) of

 the Employment Agreement.

        63.     Then, on August 18, 2017, Ms. Turner suspended Mr. Briess, in a series of text

 messages that read as follows:




                                                                                                        Document received by the VA Arlington 17th Circuit Court.
        64.     She would never permit Mr. Briess to return to work.

        65.     The above-listed breaches of the Employment Agreement are not exclusive, as

 Ms. Turner appears to have wholly disregarded her obligations under the Employment

 Agreement.


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                    Mr. Briess Refused to Engage in Race-Based Discrimination

         66.     Ms. Turner has made multiple oral and written admissions demonstrating that she

 believes black people are lazy, hopeless, and poor workers, and that she did not want them

 working for VDC on account of those perceived characteristics.

         67.     On some occasions, she spoke candidly about these biases, and on other occasions

 she would speak vaguely about “a certain group of people” or mention that someone “looks like”

 another person. The net effect, however, was to highlight, as opposed to hide, her race-based

 animus.

         68.     During his employ, she attempted to force Mr. Briess not to hire black employees,

 which he was unwilling to comply with, and then to fire the black employees he had hired.

         69.     Examples of Ms. Turner’s admissions regarding her opinions of black people

 generally and as employees are as follows:




                                                                                                     Document received by the VA Arlington 17th Circuit Court.
         70.     On April 14, 2017 she authored a text message wherein she wrote, “these fking

 [​sic]​ stupid black people are hopeless...”

         71.     On April 21, 2017, she authored a text message wherein she wrote, “these fucking

 black people can’t even…”

         72.     On April 24, 2017 she authored a text message wherein she wrote, “Probably

 another lazy black friend of hers...”

         73.     Of herself, Ms. Turner said that she couldn’t be a racist “because she is Asian.”

         74.     On June 20, 2017, she wrote to Mr. Briess by SMS, saying, “Yes. There was also

 another African/American guy that used to work there that did the same thing...just so lazy

 looking, like they have no energy”



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          75.   On June 21, 2017, she wrote to Mr. Briess by SMS about a potential employee

 she’d interviewed (in violation of paragraph 1.3(e) of the Employment Agreement) favorably,

 saying, ‘She “looks” like [another white employee]’. The quotations surrpunding the word

 “looks” were in Ms. Turner’s SMS.

          76.   On July 20, 2017, Ms. Turner wrote to Mr. Briess by SMS about a proposed price

 increase, saying, “You will always have someone complain because it’s human nature that

 people want everything for free or pay pretty much nothing for it. ​A certain group of people gave

 me a hard time when I took over 16 months ago because prices went up 20 cents . . .” Emphasis

 added.

          77.   Mr. Briess understood from his non-written interactions with Ms. Turner that she

 was referring primarily to black women.

          78.   In the case of Mr. Briess’s employment, Ms. Turner’s race-based animus against




                                                                                                      Document received by the VA Arlington 17th Circuit Court.
 black employees manifested in her constant criticism of Mr. Swinson. Examples of Ms. Turner’s

 race-based criticisms of Swinson include the following:

          79.   On June 16, 2017, she wrote to Mr. Briess by SMS, saying, “I hope you include

 that in the employee handbook. And it may be too advance [​sic​] for someone like Manny to

 understand.”

          80.   On August 5, 2017, Ms. Turner wrote to Mr. Briess by SMS about Swinson,

 writing, “You need to make sure they upsell. It’s an everyday reminder when you’re dealing with

 people like that, need I say more”




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        81.      And Ms. Turner also complained constantly about Swinson’s performance, in a

 manner that Mr. Briess understood to be pretext and a cover for her race-based bias. Examples of

 this include:

        82.      On July 6, 2017, she wrote to Mr. Briess by SMS, saying “Why the extra time for

 Manny?”

        83.      On July 7, 2017, she wrote to Mr. Briess by SMS, saying “Manny would be in the

 way more than help.”

        84.      On July 9, 2017, she wrote to Mr. Briess by SMS, saying “Also if you can

 interview the two women to replace Manny soon.”

        85.      On July 6, 2017, she wrote to Mr. Briess by SMS, saying, “Manny is not

 coachable and he feels entitled.”

        86.      On July 10, 2017, she wrote to Mr. Briess by SMS, saying “Forget about Manny.”




                                                                                                    Document received by the VA Arlington 17th Circuit Court.
        87.      On July 14, 2017, she wrote to Mr. Briess in multiple SMS messages, saying as

 follows:




        88.      Mr. Briess was extremely uncomfortable with Ms. Turner’s treatment of Mr.

 Swinson, who he thought was nervous and in his first job. He and refused to participate in Ms.

 Turner’s campaign of harassment.

        89.      Ms. Turner harassed Mr. Swinson until Swinson quit.



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        90.     Ms. Turner was aware of Mr. Briess’s refusal to harass and scheme to fire Mr.

 Swinson, and this was a constant source of animosity from her to Mr. Briess.

        91.     On one occasion, she yelled at Mr. Briess, saying “I don’t want you hiring any

 more of these fucking black people. I want you to hire good people.”

                                    VDC Terminates Mr. Briess

        92.     On September 3, 2017, Ms. Turner delivered to Mr. Briess a Termination Letter

 by email and UPS. The letter was accompanied by a cover letter.

        93.     In the cover letter, Ms. Turner declined to sell Mr. Briess VDC's assets, stating, “I

 am writing to inform you that the business is not for sale and if and when I decide to sell you will

 have first right of refusal. I am also returning your $500.00 check.”

        94.     Though not at issue in this action, at least as of the time of filing of this

 Complaint, Mr. Briess, through an entity he had set up, had also purchased an option contract to




                                                                                                        Document received by the VA Arlington 17th Circuit Court.
 purchase all of VDC’s assets, and he had attempted to exercise that option on On August 28,

 2017. To the extent permissible by law, Mr. Briess reserves the right to bring suit for breach of

 that option contract against VDC and/or against Ms. Turner in her individual capacity.

        95.     In the Termination Letter, Ms. Turner dismissed Mr. Briess from his employment

 with VDC because, she wrote, she “no longer [had] confidence in [Mr. Briess's] ability to

 perform as manager of NrGize Lifestyle Café.”

        96.     The Termination letter did not reference Article III of the Employment Contract,

 or specify that the termination was for cause.

        97.     Neither did it describe any cause for Mr. Briess's dismissal that was authorized

 under Article III's paragraph (a), governing termination for cause.


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         98.     And, in fact, Mr. Briess had not engaged in any conduct sufficient to invoke

 Article III's termination for cause provisions.

         99.     By sending the Termination Letter and the cover letter, VDC and Ms. Turner

 breached their obligations to Mr. Briess under the Employment Agreement.

                                  Employment Agreement Damages

         100.    During his employment with VDC, VDC never paid to Mr. Briess any wages,

 salary, or other compensation, further breaching the Employment Agreement.

         101.    Pursuant to Article II.1 of the Employment Agreement, VDC was to pay to Mr.

 Briess “Eighty Percent of the Company's Net Operating Income (NOI).”

         102.    The Employment Agreement defined NOI as VDC's gross revenues less all

 reasonable operating expenses.

         103.    And reasonable operating expenses were defined to include, without limitation,




                                                                                                       Document received by the VA Arlington 17th Circuit Court.
 “costs of goods sold, salaries, franchise fees, insurance, taxes, and all recurring expenses

 associated with operation of the business.”

         104.    The Employment Agreement specified that VDC would pay Mr. Briess his salary

 within fifteen days of the end of each month.

         105.    And each salary payment would be based upon the prior month's NOI.

         106.    Plaintiff's ability to calculate VDC's NOI, and thus his damages, is limited by the

 fact of his dismissal.

         107.    After his dismissal, Plaintiff lost access to VDC's records.




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         108.    With records available to Plaintiff at the time of his termination, Plaintiff is able

 to calculate a potentially representative NOI for the month of July 2017, but Plaintiff does not

 have sufficient documentation to calculate NOI for August 2017, or for any periods after that.

         109.    In July 2017, according to records available to Plaintiff at the time of his

 dismissal, VDC's total receipts were $12,165.59, its operating expenses were $6,116.59, for an

 NOI of $6,049.00.

         110.    Based on those documents, Mr. Briess is entitled, pursuant to the Employment

 Agreement, to $4,839.20 in salary from VDC for that month.

         111.    In calculating this figure, Plaintiff has referred to documentation he preserved

 upon learning of Defendants' breach of both contracts, and those documents disclose, for the

 month of July, substantial portions, if not all, of VDC's receipts, payroll, inventory purchases,

 and taxes (sales, state, and federal).




                                                                                                         Document received by the VA Arlington 17th Circuit Court.
         112.    Undoubtedly, discovery will determine VDC's actual NOI for the months since

 his dismissal, and it may reveal that Plaintiff's calculated NOI for the month of July 2017 is

 based on incomplete information.

         113.    But using 80% of July 2017's NOI as an estimate for Mr. Briess's monthly pay

 from July 1, 2017 until March 31, 2019, Plaintiff calculates that VDC is indebted to him in the

 amount of $101,623.20.


                                              COUNT I
                                             Against VDC
            Breach of the Employment Agreement - Unpaid Wages During Employment
         114.    Plaintiff realleges every preceding allegation in this Count I.




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        115.   From July 1, 2017 until September 3, 2017, Defendant VDC owed Plaintiff a

 contractual duty to pay Plaintiff a salary, equal to 80% of its NOI, pursuant to the Employment

 Agreement.

        116.   Defendant VDC did not pay to Plaintiff that salary.

        117.   As a result, Plaintiff has been harmed by Defendant in an amount unknown to

 Plaintiff. As described in Paragraphs 80-94, Mr. Briess's damages under this Count I can be

 reasonably estimated to be $10,162.32.


                                            COUNT II
                                           Against VDC
      Breach of the Employment Agreement - Termination in Violation of Article III.1 of the
                                  Employment Agreement
        118.   Plaintiff realleges every preceding allegation in this Count II.

        119.   On September 3, 2017, Defendant VDC owed Mr. Briess a contractual duty to




                                                                                                   Document received by the VA Arlington 17th Circuit Court.
 retain him in his employment as the Store Manager unless and until (1) he engaged in conduct

 permitting a termination for cause, (2) he died or became disabled, or (3) he terminated his

 employment with or without cause, with a 30-day notice.

        120.   VDC continues to owe to Mr. Briess that same duty, and that duty will not

 extinguish until June 1, 2019, by the terms of the Employment Agreement.

        121.   Nevertheless, on September 3, 2017, VDC dismissed Mr. Briess from

 employment, in violation of the Employment Agreement.

        122.   As a result, Mr. Briess has suffered damages, in an amount unknown to Plaintiff.

 As described in Paragraphs 80-94, Mr. Briess's damages under this Count I can be reasonably

 estimated to be $91,460.88, calculated up to March 31, 2019.



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        123.       Mr. Briess continues to accrue damages at a rate that is unknown to Colin, but

 that can be reasonably estimated to be $4,839.20 per month.




                                              COUNT III
                                          Against Judith Turner
  Piercing the Corporate Veil to Impose Liability on Ms. Turner, Jointly and Severally with VDC,
                                          for Counts I-II
        124.       Plaintiff realleges every preceding allegation in this Count III.

        125.       Ms. Turner is the sole owner of VDC.

        126.       During Mr. Briess's        employ, Ms. Turner maintained VDC with thin

 capitalization.

        127.       For example on August 2, 2017, VDC's available balance in its sole checking

 account was only $17,225.17.




                                                                                                     Document received by the VA Arlington 17th Circuit Court.
        128.       And on August 16, 2017, VDC's available balance was only $21,281.84.

        129.       Colin's likely damages against VDC for unpaid wages and wrongful termination

 ($91,460.88 as of March 31, 2019) will exceed that amount by more than a factor of four.

        130.       During Mr. Briess's employ, he observed and learned about Ms. Turner

 commingling her funds with VDC's and using VDC's funds as her own.

        131.       Ms. Turner also actively conceals VDC's true ownership.

        132.       For example, on June 4, 2017 at 12:09:13, Ms. Turner wrote Mr. Briess a text

 message, stating “Btw Colin, I have never told customers or staff that I'm the owner of the juice

 bar, just the manager. The owner is Charlie, who lives in NY.”




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         133.   Further, Ms. Turner caused Mr. Briess's illegal dismissal from VDC for explicitly

 personal reasons, writing in her Termination Letter to him, “As the owner and CEO of NrGize

 Lifestyle Café, a key component of my livelihood and personal financial viability, I can no

 longer accept the risks that employing you has exposed me to.”

         134.   For these reasons, and others to be developed in discovery and at trial, the Court

 should pierce the corporate veil and hold Ms. Turner personally liable for VDC's liabilities to

 Mr. Briess in this matter.


                                             COUNT IV
                                    Against Judith Turner & VDC
                       Retaliatory Dismissal in Violation of 42 U.S.C. § 1981
         135.   Plaintiff realleges every preceding allegation in this Count IV.

         136.   Plaintiff refused to participate in Ms. Turner’s campaign of race-based harassment

 and plans to dismiss employee Swinson.




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         137.   Mr. Briess was also aware of Ms. Turner’s racist statements condemning black

 people in explicit terms, so he further understood the race-based nature of Ms. Turner’s

 determination to fire Swinson.

         138.   Mr. Briess’s refusal was protected activity under 42 U.S.C. § 1981.

         139.   And that refusal was a large source of animosity on the part of Ms. Turner, as she

 constantly lobbied Plaintiff to fire Swinson while calling Swinson lazy on account of Swinson’s

 race.

         140.   Thus there exists a causal relationship between Turner’s September 3, 2017

 election to dismiss Plaintiff and Plaintiff’s protected activity.




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        141.    As a result of VDC and Turner’s illegal dismissal of Plaintiff in retaliation for

 conduct protected by law, Mr. Briess suffered:

                    a. Attorney’s fees;

                    b. Costs; and

                    c. Compensatory Damages.

        142.    Ms. Turner dismissed Plaintiff with malice with respect to his federally-protected

 right to oppose and refuse to participate in illegal conduct, permitting punitive damages to be

 assessed against her.


                                     RELIEF DEMANDED
        143.    Mr. Briess requests punitive damages against VDC and Ms. Turner for her

 violations of 42 U.S.C. § 1981.

        144.    Ad Damnum: ​Mr. Briess requests monetary damages against both defendants for




                                                                                                      Document received by the VA Arlington 17th Circuit Court.
 unpaid wages, both before and after VDC terminated his employment in breach of the

 Employment Agreement, in an amount estimated to be no less than $101,623.20. Because Mr.

 Briess knows that the foregoing figure is not complete, he seeks for his ​ad damnum clause

 damages in the amount of $800,000.

        145.    Mr. Briess reserves the right, to the extent permitted by the Code of Virginia, the

 Rules of the Supreme Court of Virginia, and any other applicable laws or rules, to seek leave of

 Court to amend his ​ad damnum​ clause to conform with the evidence adduced during discovery.

        146.    Plaintiff requests reasonable attorneys' fees, costs, and such other relief as the

 Court finds just and proper.




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       MR. BRIESS DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE

 Dated: August 19, 2019

 Respectfully Submitted,




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                                CERTIFICATE OF SERVICE
         I hereby certify that on September 9, 2019, I served the foregoing upon Defendants

  at via First Class Mail addressed to their attorneys:


        John C. Cook
        Cook Craig & Francuzenko, PLLC
        3050 Chain Bridge Road, Suite 200
        Fairfax, VA 22030




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